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               Case 1:24-fp-00086 Document 1 Filed 03/13/24 Page 2 of 3




                       THE STATE OF NEW HAMPSHIRE


                                 SUPREME COURT



          In Case No. 2023-0270, Grace Woodham v. Janet Woo^[h am
 & a., the clerk court on January 16, 2024, issue^ the foliominng
 order:

        On December 6, 2023, t±ie defendants were ordered to file their briefs or i
 memoranda of law on or before Januaiy 5, 2024. Defendants having faile<. to file
 their brief or memorandum of law, the case will proceed on a ppellant's            I
 memorandum of law only. If the court schedules oral argument in this matter, i
 defendants will not be permitted to argue orally. See Rule 18(2) (“A party v^ho
 has not filed a brief shil not be heard orally.”).              |

          This order is entered by a single justice (Hantz Marconi, J.). See Ruls
 21(7).

                                                      Timothy A. Gudas,
                                                               Clerk



 Distribution:
 Mr. Trevor D. Garner
 Ms. Janet Woodham
j Ms. Grace Woodham
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